     Case 2:23-cv-00951-JCM-NJK Document 41 Filed 05/31/24 Page 1 of 4




 1 Will Lemkul; NV Bar No. 6715                    William C. Reeves; NV Bar No. 8235
   Bryan Baugh; NV Bar No. 16193                   Kelly A. Hedberg, NV Bar No. 12224
 2 MORRIS, SULLIVAN & LEMKUL, LLP                  MORALES FIERRO & REEVES
   3960 Howard Hughes Parkway, Suite 400           600 S. Tonopah Drive, Suite 300
 3 Las Vegas, NV 89169                             Las Vegas, NV 89106
   Phone: (702) 405-8100                           Phone: (702) 699-7822
 4 Fax: (702) 405-8101                             Fax: (702) 699-9455
   lemkul@morrissullivanlaw.com                    wreeves@mfrlegal.com
 5 baugh@morrissullivanlaw.com                     khedberg@mfrlegal.com

 6

 7 Richard A. Harris; NV Bar No. 505
   Johnathan Leavitt; NV Bar No. 13172
 8 RICHARD HARRIS LAW FIRM
   801 South Fourth Street
 9 Las Vegas, NV 89101
   Phone: (702) 444-4444
10 Fax: (702) 444-4455
   Jleavitt@richardharrislaw.com
11

12                                UNITED STATES DISTRICT COURT

13                                DISTRICT OF NEVADA (LAS VEGAS)

14
     GABRIEL ANGEL LOPEZ, an individual;                Case No.: 2:23-cv-00951
15
                     Plaintiff,
16
     vs.                                                JOINT STIPULATION OF DISMISSAL
17                                                      WITH PREJUDICE AND ORDER

18 DONALD EDWARD WINTERS, an
   individual, TINA WINTERS, an individual.,
19 ZURICH AMERICAN INSURANCE
   COMPANY; DOES 1 through 20; and, ROE
20 CORPORATIONS 1 through 20, inclusive,

21                    Defendants.
22

23          IT IS HEREBY STIPULATED AND AGREED, between Plaintiff Gabriel Lopez, by and

24 through his attorney of record, Johnathan Leavitt of Richard Harris Law Firm, Defendant Zurich

25 American Insurance Company, by and through its attorneys of record, William Reeves and Kelly

26 Hedberg of the law firm of Morales Fierro & Reeves, and Defendants Donald Winters and Tina
27 Winters, by and through their attorneys of record, Will Lemkul and Bryan Baugh of the law firm

28 of Morris, Sullivan & Lemkul, LLP, that subject to the terms of the settlement agreements signed

                                                    1
     Case 2:23-cv-00951-JCM-NJK Document 41 Filed 05/31/24 Page 2 of 4




 1 by and entered into on behalf of all parties, that all claims and causes of action in the above-

 2 entitled action, including all direct claims, counterclaims, and cross-claims, are hereby dismissed

 3 with prejudice as to all parties, including as to all DOE and ROE defendants.

 4          Each party is to bear its, his, or her own attorneys’ fees and costs.

 5

 6 IT IS SO STIPULATED.

 7
     MORRIS, SULLIVAN & LEMKUL, LLP                        MORALES, FIERRO & REEVES
 8
   By: /s/ Will Lemkul_______                              By: /s/ William Reeves_ ___________
 9    Will Lemkul, NV Bar No. 6715                           William C. Reeves, NV Bar No. 8235
      Bryan Baugh, NV Bar No. 16193                          Kelly A. Hedberg, NV Bar No. 12224
10    3960 Howard Hughes Pkwy., Suite 400                    600 S. Tonopah Drive, Suite 300
      Las Vegas, NV 89169                                    Las Vegas, NV 89106
11
   Attorneys for Defendants Donald Winters and               Attorneys for Defendant Zurich American
                                                             Insurance Company
12 Tina Winters

13
     RICHARD HARRIS LAW FIRM
14
   By: /s/_Jonathan Leavitt _________
15    Richard Harris, NV Bar No. 505
      Johnathan Leavitt, NV Bar No. 13172
16    801 South Fourth Street
      Las Vegas, NV 89101
17
   Attorneys for Plaintiff Gabriel Lopez
18

19

20

21

22 / / /

23

24

25 / / /

26
27

28 / / /

                                                       2
     Case 2:23-cv-00951-JCM-NJK Document 41 Filed 05/31/24 Page 3 of 4




 1                                           ORDER

 2         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Plaintiff’s Complaint

 3 in Case No. 2:23-cv-00951 is dismissed WITH PREJUDICE, with each party to bear its own

 4 attorneys’ fees and costs.

 5

 6         IT IS SO ORDERED.

 7
                   May 31, 2024
           Dated: ________________                                     _________
 8                                           UNITED STATES DISTRICT COURT JUDGE
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                3
     Case 2:23-cv-00951-JCM-NJK Document 41 Filed 05/31/24 Page 4 of 4




 1                                   CERTIFICATE OF SERVICE

 2       I HEREBY CERTIFY that I am an employee of MORRIS, SULLIVAN & LEMKUL, LLP,

 3 and that I caused a true and correct copy of the foregoing JOINT STIPULATION OF

 4 DISMISSAL WITH PREJUDICE AND ORDER to be served via EC/CMF to the parties listed

 5 below on this 31st day of May, 2024.

 6
     On all parties listed on the service list:
 7
       Richard Harris, Esq.                              Kelly A. Hedberg, Esq.
 8     Johnathan Leavitt, Esq.                           William C. Reeves, Esq.
       RICHARD HARRIS LAW FIRM                           MORALES FIERRO AND REEVES
 9     801 South Fourth Street                           600 S. Tonopah Drive, Suite 300
       Las Vegas, NV 89101                               Las Vegas, NV 89106
10     jleavitt@richardharrislaw.com                     khedberg@mfrlegal.com
       lucia@richardharrislaw.com                        wreeves@mfrlegal.com
11     Attorneys for Plaintiff                           abraun@mfrlegal.com
                                                         twoods@mfrlegal.com
12                                                       Attorneys for Zurich American Insurance
                                                         Company
13
                                           /s/ Sophie Inglis
14                                 An Employee of Morris Sullivan Lemkul
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                     3
